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                                UNITED STATES DISTRICT COURT
                                   DiSTRICT OF NEW JERSEY

     UNITED STATES OF AMERICA                        Criminal No. 18-808 fRM)

                                                      ORDER FOR CONTINUANCE
                        vs.


     STERUNG WHEATEN



             This matter having come before the Court on the joint application of the
                                                                                      United
    States, by Craig Carpenito, United States Attorney for the District of New Jersey
                                                                                      (Jason
     M. Richardson1 Assistant U.S. Attorney, appearing), and defendant Sterling Wheat
                                                                                      en
    (Louis Barbone, Esq., appearing), for an order granting a continuance of
                                                                             proceedings in
    the above-captioned matter and the defendant being aware that he has the
                                                                             right to
    have this matter brovght to trial within 70 days of the date of his appearance
                                                                                   before a
    judicial officer of this court pursuant to 18 U.S.C.   § 3161 (c)(1); and the defendant having
    consented to such continuance and having waived such rlght and for good
                                                                            cause
    shown,

           IT IS THE FINDING OF THIS COURT that this action should be continued for
                                                                                    the
    following masons:

           1.    The failure to grant a continuance would deny counsel for the

    defendant and counsel for the Government the reasonable time necessary for
                                                                               effective
    preparation for blal, taking Into account the exercise of due diligence.

          2.     As a result of the foregoing, pursuant to 18 U.S.C. 3161(h)(7)fA)
                                                                    §
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      and (h)(7)(B)(iv), the ends of justice served by the granting of this continuance
      outweigh the best interests of the public and the defendant in a speedy trial.
            IT IS, therefore, on this         of March, 2019
            ORDERED that this action be, and hereby is, continued until June 78,
      2019; and it is further
            ORDERED that the period from the date of this order through June 18,
      2019 be and it hereby is excluded in computing time under the Speedy Trial Act
      of 1974, 18 U.S.C.   § 3161 et. seq.                                 f

                                             HON. RENEE MARIE BUM B, USDJ

    %n&nted 9tg form and entry:



    i.1b’n M. Ric ardson
>Assistant US Attorney
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    Louis M. Barbone, Esquire
    Counsel for defendant Wheaton
